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APPENDIX X

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
HENRY RUBY CIVIL ACTION

Vv.

DISH NETWORK L.L.C. NO. 2:18+ev-00400-JHS

ORDER
AND NOW, this Day of April , 2018 , it is hereby

ORDERED that the application of Eric L. Zalud , Esquire, to practice in this

court pursuant to Local Rule of Civil Procedure 83.5.2(b) is
[2] GRANTED.
fl DENIED.

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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Civil Action No# 2:18-cv-00400-JHS

APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT PURSUANT TO
LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

I, Eric L. Zalud the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this court
pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number , for the $40.00 admission
fee.

A. | state that | am currently admitted to practice in the following state jurisdictions:
Indiana 10/18/1985 12053-49
(State where admitted) (Admission date) (Attorney Identification Number)
Ohio 11/16/1987 0038959
(State where admitted) (Admission date) (Attorney Identification Number)
(State where admitted) (Admission date) (Attorney Identification Number)
B. | state that | am currently admitted to practice in the following federal jurisdictions: See attached for remainder of list.
USDC ND Indiana 10/18/1985
(Court where admitted) (Admission date) (Attorney Identification Number)
USDC SD Indiana 10/18/1985
(Court where admitted) (Admission date) (Attorney Identification Number)
USDC ND Ohio 01/29/1988
(Court where admitted) (Admission date) (Attorney Identification Number)
C. ? state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney of

this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

1am entering my appearance for DISH Network L.L.C.

(Applicant’s Signature)

04/06/2018
(Date)

APPLICANT'S FIRM NAME / ADDRESS / TELEPHONE NUMBER:
Benesch, Friedlander, Coplan & Aronoff LLP

200 Public Square, Suite 2300, Cleveland, OH 44114-2378
(216) 363-4500

Sworn and subscribed before me this

Day of , 200

Notary Public 10/04
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I. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

The undersigned member of the bar of the United States District Court for the Eastern
District of Pennsylvania hereby moves for the admission of Eric L. Zalud to
practice in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or
after reasonable inquiry believe) that the applicant is a member in good standing of the above-
referenced state and federal courts and that the applicant’s private and personal character is good. I
certify that this application form was on this date mailed, with postage prepaid, to all interested

counsel. | ee
Jennifer R. Hoover =f MK jj 12/14/2001 87910
0

Sponsor’s Name p onpor's Signature Admission date Attorney
Identification No.

SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

Benesch, Friedlander, Copian & Aronoff LLP, Telephone - 302-442-7006

222 Delaware Avenue, Suite 801

Wilmington, Delaware 19801

Sworn and subscribed before me this

iA |
2" Day of | Joe : 200 T
“Ba 2,

(Notary Public

MICHAEL 4. BARRIE
Attorney at Law w, Notary 4
DE Bar ID #68 on
Perpetual Comm 8
Unif, Notarial acts, 2 29 Del.C. § 4323(8 a)(3)
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HENRY RUBY CIVIL ACTION

Vv.

DISH NETWORK L.L.C.
NO,  2:18-cv-00400-JHS

CERTIFICATE OF SERVICE

I declare under penalty of perjury that a copy of the application of ___Etic L. Zalud

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant

proposed Order which, if granted, would permit such practice in this court was served as follows:

by using the ECF system to: Amy L.B. Ginsburg, teamkimmel@creditlaw.com

Kimmel & Silverman, P.C.

30 E. Butler Pike, Ambler, PA 19002

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1g

Jennifer R. Hoover
Name of Attorney

Defendant DISH Network
Name of Moving Party

04/06/2018
Date

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ERIC L. ZALUD

FEDERAL JURISDICTIONS CURRENTLY ADMITTED TO

COURT DATE OF ADMISSION
U.S. Court of Appeals, Sixth Circuit 03/09/1988
USDC, Eastern District of Michigan 09/17/2001
USDC, Southern District of Ohio 05/21/2004
USDC, District of Colorado 11/16/2010
Supreme Court of the United States 11/26/2012
U.S. Court of Appeals, Second Circuit 03/29/2013
USDC, Eastern District of New York 01/30/2014
U.S. Court of Appeals, Fourth Circuit 11/18/2014
U.S. Court of Appeals, Fifth Circuit 12/29/2014

